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lN THE UNlTED STATES DlSTRlCT COURT F l BY
FOR THE WESTERN DlSTRlCT OF TENNESSEE
WESTERN DlVlSION JUL 2 1 2005
C\Ofk
UNlTED STATES OF AMERICA, Th¢t>f\: M-a°'-*g~om
W. D.OFTN. Memphis

Plaintiff,

05'“202768¥

1a u.s.c. § 1512(¢)(2)
1a u.s.c. § 1001(a)(2)

Cr. No.

 

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l
)
vs. )
)
CHARLES R. SM|TH, )

)

)

Defendant.

lNDICTMENT

THE GRAND JURY CHARGES:
|NTRODUCT|ON

1. During all times relevant to this indictment defendant CHARLES R. SM|TH was
a commissioned officer of the Nlemphis Po|ice Department.

2. On or about August 25, 2004, defendant CHARLES R. SM|TH reported to
agents of the Federa| Bureau of investigation that he believed a certain l\/lemphis Po|ice
Department officer Was stealing money from drug dealers, and agreed to cooperate in the
investigation of this particular officer for civil rights violations. The particular officer
identified by defendant CHARLES R. SM|TH, Who became the target of the investigation,
is referred to hereinafter as “target of the investigation.”

3. After defendant CHARLES R. SM|TH informed the Federa| Bureau of
investigation of the alleged illegal activities of the target of the investigation, the defendant,
CHARLES R. SM|TH, began providing the target of the investigation with information

regarding the investigation being conducted by the Federal Bureau of lnvestigation.

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MNM
4. The information contained in Paragraphs 1 through 3 herein is specifically
incorporated in this count of the indictment by referencel
5. On or about September 10, 2004, in the Western District of Tennessee, the
defendant,

CHARLES R. SM|TH

 

 

did knowingly attempt to corruptly obstruct, influence and impede an official proceeding,
to wit, an investigation conducted by the Federa| Bureau of investigation into violations of
federal civil rights |aw, by informing the target of the investigation that he, the target of the
investigation, had better “be careful” because the Federa| Bureau of lnvestigation was
going to “set up" the target of the investigation; all in violation of Title 18, United States

Code, § 1512(c)(2).

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COUNT 2
6. The information contained in Paragraphs 1 through 3 herein is specifically
incorporated in this count of the indictment by reference
7. On or about September 15, 2004, in the Western District of Tennessee, the
defendant,

CHARLES R. SM|TH

 

 

did knowingly attempt to corruptly obstruct, influence and impede an official proceeding,
to wit, an investigation conducted by the Federa| Bureau of investigation into violations of
federal civil rights iaw, by informing the target of the investigation that he, the target of the
investigation, was going to be “set up” by the Federai Bureau of investigation with a search
warrant, that the Federai Bureau of investigation was going to station a car in front of a
location that was going to be searched pursuant to a search warrant, that inside the car
would be an informant who would have money on him, that the Federai Bureau of
investigation wanted to see if the target of the investigation would steal the money, and
that the target of the investigation should not worry because the Federai Bureau of
investigation sting would not be conducted that week; ali in violation of Title 18, United

States Code, § 1512(0)(2).

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COUNT 3
8. The information contained in Paragraphs 1 through 3 herein is specifically
incorporated in this count of the indictment by reference
9. On or about September 16, 2004, in the Western District of Tennessee, in a
matter within the jurisdiction of the Federai Bureau of investigation, a bureau of the United
States Department of Justice, a department of the United States, the defendant,

..__- CHARLES R. SM|TH

 

 

knowingly and Wiiifu||y made a faise, fictitious and fraudulent material statement, in that the
defendant, CHARLES R. SM|TH, stated to an agent of the Federai Bureau of investigation
that he had never told anyone, other than a single specific individuai, about a particular
investigation conducted by the Federai Bureau of investigation, when, in fact, the
defendant, CHARLES R. SM|TH, knew that he had told a second individuai, specifically
the target of the investigation, about the investigation, in violation of Title 18, United States

Code, § 1001(a)(2).

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COUNT 4
10. The information contained in Paragraphs 1 through 3 herein is specifically
incorporated in this count of the indictment by reference
11. On or about September 17, 2004, in the Western District of Tennessee, the
defendant,

CHARLES R. SM|TH

 

 

did knowingly attempt to corruptly obstruct, influence and impede an official proceeding,
to wit, an investigation conducted by the Federai Bureau of investigation into violations of
federal civil rights iaw, by informing the target of the investigation that he, CHARLES R.
SM|TH, had just talked with the Federai Bureau of investigation special agent that was
running the investigation, and that the operation would take place in two weeks, that the
Federai Bureau of investigation was wiring-up a black i_incoin Navigator to use in the
operation, and that the target of the investigation should not tell anyone what was going

on; all in violation of Title 18, United States Code, § 1512(0)(2).

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COUNT 5
12. The information contained in Paragraphs 1 through 3 herein is specifically
incorporated in this count of the indictment by reference
13. On or about September 17, 2004, in the Western District of Tennessee, the

defendant,

CHARLES R. SM|TH

 

 

did knowingly attempt to corruptly obstruct, influence and impede an official proceeding,
to wit, an investigation conducted by the Federai Bureau of investigation into violations of
federal civil rights iaw, by informing the target of the investigation about the investigation
and the investigative techniques to be utilized by the Federai Bureau of investigation during

the investigation; ali in violation of Title 18, United States Code, § 1512(c)(2).

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United States Attorney
Western District of Tennessee

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This notice confirms a copy of the document docketed as number l in
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Joseph C. Murphy

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Honorable J. Breen
US DISTRICT COURT

